Jim Todd

From:                           Beres,Nick <nick.beres@newschannel5.corn >
Sent:                           Thursday, March 01, 2018 10:10 AM
To:                             Jim Todd
Subject:                        Fwd: Response to CBD




Sent from my iPhone

Begin forwarded message:

        From: "Beres, Nick" <nick.beres newschannel5.com>
        Date: February 28, 2018 at 7:02:19 PM CST

        Subject: Fwd: Response to CBD


        Response from TBI.
         Let me know what you think?
        Sent from my iPhone

        Begin forwarded message:

              From: WTVF Newsroom <newsroom n e wschannel5.com>
              Date: February 28, 2018 at 1:51:54 PM CST
              To: newsdept <newsde t n e w s channel5.com>
              Subject: Fw: Response to CBD




              Sent: Wednesday, February 28, 2018 1:49 PM
              To: WTVF Newsroom
              Subject: Re: Response to CBD

              Here's our statement:



              In this matter, it is inaccurate for the local stakeholders in these cases to assert
              they made decisions in this case unaware of the limits of our forensic work.

              The role of the Tennessee Bureau of Investigation in laboratory analysis is to
              objectively analyze submitted evidence. We make no determination of the
              legality of situations involving the evidence we examine, and, in fact, our
              Forensic Scientists are rarely aware of the circumstances involving the evidence
              submitted for analysis.



            Case 3:18-cv-00965 Document 5-9 Filed 10/15/18 Page 1 of 3 PageID #: 129
  Our laboratory analysis can only determine relevant compounds, not
  the particular origin of those substances. So, in this matter, we are not able to
  determine whether the CBD in these cases originated from industrial hemp, illicit
  marijuana, or synthetic production. In fact, such a determination is beyond the
  capability of contemporary drug identification. Still, the identified CBD, as a
  derivative of marijuana, may be considered a Schedule VI substance under the
  Tennessee Code, which is why our agency reported it that way to the local law
  enforcement agency and District Attorney General.

  In the midst of this process, we clearly explained — in detail — the limitations of
  our analysis to all stakeholders. We did so to ensure they fully knew that, though
  we could identify CBD, we were not able to identify its origin.

  We also explained to them the nuance of the included schedule on our lab
   reports, which are provided as a courtesy. In this instance, we listed the schedule
  out of an abundance of caution because the sample could have met the standard
  for schedule as spelled out in the law. Local agencies and prosecutors — including
  those in Rutherford County — are well aware of that nuance.

  During the recent news conference on these cases, General Jones acknowledged
  himself that a substance being identified as a particular schedule does not make
 it inherently illegal. The circumstances of the possession or transfer — as
 determined by the local law enforcement agency and interpreted by the District
 Attorney General — make something "illegal."

 Again, to be clear: TBI lab reports objectively determine the compound present,
 but in no way are statements of compound origin, circumstances of possession,
 or guilt or innocence. Though we identified the substance and the relevant
 schedule, we made no determination about the legality of the substance or the
 circumstance in Rutherford County. That was a decision solely made — as in all
 cases — by the local agency and District Attorney General.



 Regards,
 Josh DeVine

 Sent from my iPhone.Please excuse any typos.

 On Feb 28, 2018, at 1:08 PM, WTVF Newsroom
 <newsroom newschannel5.com>wrote:

        Hello,

        Does the TBI have a statement to share regarding the CBD
        investigation in Rutherford Co. (" Operation Candy Crush" ) and a
        response to the District Attorney's letter indicating TBI is to
        blame.



Case 3:18-cv-00965 Document 5-9 Filed 10/15/18 Page 2 of 3 PageID #: 130
                         Thank you,
                         Emerald

                         Assignment Desi<
                         V>JT'>ll'- I V l~levvsChannei 5 lxletvvo[ k
                         47~I lames I' ohertsorI Pkvvv
                         Naslivill"., Tl''I 372C <
                         615. 248. 5281
                         I-oIIovv us on I vvitter at NNCS


                         Scripps Media, Inc., certifies that its advertising sales agreements
                         do not discriminate on the basis of race or ethnicity. All
                         advertising sales agreements contain nondiscrimination clauses.
Scripps Media, Inc., certifies that its advertising sales agreements do not discriminate on the basis of race or ethnicity.
All advertising sales agreements contain nondiscrimination clauses.




             Case 3:18-cv-00965 Document 5-9 Filed 10/15/18 Page 3 of 3 PageID #: 131
